Case 1:20-cv-05233-SEG   Document 115-11   Filed 01/18/24   Page 1 of 4
                                                                      Exhibit 10




                                                                   DEF 000582
                     Case 1:20-cv-05233-SEG                      Document 115-11                    Filed 01/18/24           Page 2 of 4
                       United Inn And Suites
                       4649 Memorial Drive
                                                                                                                                           Customer Receipt
                       Decatur, GA 30032                                                                                   Monday, October 17, 2022 9:46 PM
                       Phone 404-836-8100
                       Fax 404-836-8180
                       UIS-DC



Dontavis Carr
5711 Wochase Ln
Stone Mountain Ga 30083 US
GID: 728281968863



                                             Dontavis Carr
 Folio #32690
                                             Jul 02, 17 Sun - Jul 04, 17 Tue
Date                                 Receipt         Qty     Description                                 Tender           Amount        Balance         Running
1. Jul 02, 17 Sun     07:58 AM      566279            1      Ga Hotel Motel Fee Tax   5.00 ea.                               5.00           5.00           $5.00
2. Jul 02, 17 Sun     07:58 AM      566279            1      Double/Double Room Charge (222)                                69.57          74.57          $74.57
                                                             Jul 02, 17 Sun (1)
3. Jul 02, 17 Sun     07:58 AM      566279            1      Hotel Tax     8.00%                                             5.57          80.14          $80.14
4. Jul 02, 17 Sun     07:58 AM      566279            1      Sales Tax   7.00%                                               4.87          85.01          $85.01
5. Jul 02, 17 Sun     07:58 AM      566279            1      Payment                                      Cash             (85.01)         (0.00)         ($0.00)
6. Jul 03, 17 Mon     11:54 AM      566359            1      Ga Hotel Motel Fee Tax   5.00 ea.                               5.00           5.00           $5.00
7. Jul 03, 17 Mon     11:54 AM      566359            1      Double/Double Room Charge (222)                                65.22          70.22          $70.22
                                                             Jul 03, 17 Mon (2)
8. Jul 03, 17 Mon     11:54 AM      566359            1      Hotel Tax     8.00%                                             5.22          75.44          $75.44
9. Jul 03, 17 Mon     11:54 AM      566359            1      Sales Tax   7.00%                                               4.57          80.01          $80.01
10. Jul 03, 17 Mon    11:54 AM      566359            1      Payment                                      Cash             (80.01)         (0.00)         ($0.00)
11. Jul 04, 17 Tue    12:38 PM      566432            1      Double/Double Room Charge (222)                                 0.00          (0.00)         ($0.00)
                                                             Jul 04, 17 Tue (3) 12:38 PM - Check
                                                             Out


                                                                                                   Charges/Debits $165.02 Payments/Credits: ($165.02) :: ($0.00)




                                                                                                                                        DEF 000583

                                                                                                                                                               1 of 1
                     Case 1:20-cv-05233-SEG                      Document 115-11                   Filed 01/18/24          Page 3 of 4
                       United Inn And Suites
                       4649 Memorial Drive
                                                                                                                                         Customer Receipt
                       Decatur, GA 30032                                                                                  Monday, October 17, 2022 9:47 PM
                       Phone 404-836-8100
                       Fax 404-836-8180
                       UIS-DC



Dontavis Carr
26373 -D Hapev1lle Rd Sw Apt 43c
Atlanta Ga 30315 US
GID: 729607399190



                                             Dontavis Carr
 Folio #30127
                                             Feb 01, 17 Wed - Feb 03, 17 Fri
Date                                 Receipt         Qty     Description                                Tender          Amount         Balance        Running
1. Feb 01, 17 Wed     08:58 PM      556036             1     Ga Hotel Motel Fee Tax   5.00 ea.                              5.00          5.00            $5.00
2. Feb 01, 17 Wed     08:58 PM      556036             1     Hotel Tax     8.00%                                            4.17          9.17            $9.17
3. Feb 01, 17 Wed     08:58 PM      556036             1     King Room Charge (119)                                        52.18         61.35          $61.35
                                                             Feb 01, 17 Wed (1)
4. Feb 01, 17 Wed     08:58 PM      556036             1     Sales Tax   7.00%                                              3.65         65.00          $65.00
5. Feb 01, 17 Wed     08:58 PM      556036             1     Payment                                     Cash            (65.00)          0.00            $0.00
6. Feb 02, 17 Thu     08:59 AM      556053             1     Ga Hotel Motel Fee Tax   5.00 ea.                              5.00          5.00            $5.00
7. Feb 02, 17 Thu     08:59 AM      556053             1     Hotel Tax     8.00%                                            4.17          9.17            $9.17
8. Feb 02, 17 Thu     08:59 AM      556053             1     King Room Charge (119)                                        52.18         61.35          $61.35
                                                             Feb 02, 17 Thu (2)
9. Feb 02, 17 Thu     08:59 AM      556053             1     Sales Tax   7.00%                                              3.65         65.00          $65.00
10. Feb 02, 17 Thu    08:59 AM      556053             1     Payment                                     Cash            (65.00)          0.00            $0.00
11. Feb 03, 17 Fri    10:23 AM      556133             1     King Room Charge (119)                                         0.00          0.00            $0.00
                                                             Feb 03, 17 Fri (3) 10:23 AM - Check
                                                             Out


                                                                                                   Charges/Debits $130.00 Payments/Credits: ($130.00) :: $0.00




                                                                                                                                      DEF 000584

                                                                                                                                                             1 of 1
                     Case 1:20-cv-05233-SEG                      Document 115-11                   Filed 01/18/24          Page 4 of 4
                       United Inn And Suites
                       4649 Memorial Drive
                                                                                                                                         Customer Receipt
                       Decatur, GA 30032                                                                                  Monday, October 17, 2022 9:48 PM
                       Phone 404-836-8100
                       Fax 404-836-8180
                       UIS-DC



Dontavis Carr
571 1 Ndchase Ln
US
GID: 721319846409



                                             Dontavis Carr
 Folio #32492
                                             Jun 23, 17 Fri - Jun 26, 17 Mon
Date                                 Receipt         Qty     Description                                Tender          Amount         Balance        Running
1. Jun 23, 17 Fri     09:46 AM      565608             1     Ga Hotel Motel Fee Tax   5.00 ea.                              5.00          5.00            $5.00
2. Jun 23, 17 Fri     09:46 AM      565608             1     Hotel Tax     8.00%                                            4.52          9.52            $9.52
3. Jun 23, 17 Fri     09:46 AM      565608             1     King Room Charge (112)                                        56.52         66.04          $66.04
                                                             Jun 23, 17 Fri (1)
4. Jun 23, 17 Fri     09:46 AM      565608             1     Sales Tax   7.00%                                              3.96         70.00          $70.00
5. Jun 23, 17 Fri     09:46 AM      565608             1     Payment                                     Cash            (70.00)          0.00            $0.00
6. Jun 24, 17 Sat     08:49 AM      565689             1     Ga Hotel Motel Fee Tax   5.00 ea.                              5.00          5.00            $5.00
7. Jun 24, 17 Sat     08:49 AM      565689             1     Hotel Tax     8.00%                                            4.52          9.52            $9.52
8. Jun 24, 17 Sat     08:49 AM      565689             1     King Room Charge (112)                                        56.52         66.04          $66.04
                                                             Jun 24, 17 Sat (2)
9. Jun 24, 17 Sat     08:49 AM      565689             1     Sales Tax   7.00%                                              3.96         70.00          $70.00
10. Jun 24, 17 Sat    08:49 AM      565689             1     Payment                                     Cash            (70.00)          0.00            $0.00
11. Jun 25, 17 Sun    08:41 AM      565763             1     Ga Hotel Motel Fee Tax   5.00 ea.                              5.00          5.00            $5.00
12. Jun 25, 17 Sun    08:41 AM      565763             1     Hotel Tax     8.00%                                            4.52          9.52            $9.52
13. Jun 25, 17 Sun    08:41 AM      565763             1     King Room Charge (112)                                        56.52         66.04          $66.04
                                                             Jun 25, 17 Sun (3)
14. Jun 25, 17 Sun    08:41 AM      565763             1     Sales Tax   7.00%                                              3.96         70.00          $70.00
15. Jun 25, 17 Sun    08:41 AM      565763             1     Payment                                     Cash            (70.00)          0.00            $0.00
16. Jun 26, 17 Mon    12:40 PM      565869             1     King Room Charge (112)                                         0.00          0.00            $0.00
                                                             Jun 26, 17 Mon (4) 12:40 PM - Check
                                                             Out


                                                                                                   Charges/Debits $210.00 Payments/Credits: ($210.00) :: $0.00




                                                                                                                                      DEF 000585

                                                                                                                                                             1 of 1
